Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 1 of 36 PageID #: 2650




                        Exhibit G
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 2 of 36 PageID #: 2651




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  LONE STAR TECHNOLOGICAL                              §
  INNOVATIONS, LLC,                                    §
                                                       §
                          Plaintiff,                   §
                                                       §   Civil Case No. 6:19-cv-00059-RWS
                    v.                                 §
                                                       §   LEAD CASE
  ASUSTEK COMPUTER INC.,                               §
                                                       §
                          Defendant.                   §
                                                       §
                                                       §


                                       JURY INSTRUCTIONS

    1.      Introduction

         MEMBERS OF THE JURY:

         You have now heard the evidence in this case, and I will instruct you now on the law

 that you must apply. It is your duty to follow the law as I give it to you. On the other hand,

 you, the jury, are the sole judges of the facts. Do not consider any statement that I may have

 made during the trial or make in these instructions as an indication that I have any opinion about

 the facts of the case.

         After I instruct you on the law, the attorneys will have an opportunity to make their closing

 arguments. Statements and argument of the attorneys are not evidenceand are not instructions on

 the law. They are intended only to assist you in understanding the evidence and what the parties’

 contentions are.




                                                   1
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 3 of 36 PageID #: 2652




    2.      General Instructions


            2.1     Verdict Form

         A verdict form has been prepared for you. You will take this form with you to the jury

 room and when you have reached a unanimous agreement as to your verdict, you will have your

 foreperson fill in, date it and sign the form. Answer each question on the verdict form from the

 facts as you find them. Do not decide who you think should win and then answer the questions

 accordingly. Your answers and your verdict must be unanimous.

            2.2     Considering Witness Testimony

         In determining whether any fact has been proven in this case, you may, unless otherwise

 instructed, consider the testimony of all witnesses, regardless of who may have called them, and

 all exhibits received into evidence, regardless of who may have produced or introduced them.

 You the jurors are the sole judges of the credibility of all the witnesses and the weight and effect

 of all evidence. By the Court allowing testimony or other evidence to be introduced over the

 objection of an attorney, the Court did not indicate any opinion as to the weight or effect of

 such evidence.

         In determining the weight to give to the testimony of a witness, you should ask yourself

 whether there was evidence tending to prove that the witness testified falsely concerning some

 important fact or whether there was evidence that some other time the witness said or did

 something or failed to say or do something that was different from the testimony the witness

 gave before you during trial.

         You should keep in mind, of course, that a simple mistake by a witness does not

 necessarily mean that the witness was not telling the truth as he or she remembers it because

 people may forget some things or remember other things inaccurately. So, if a witness has made
                                                   2
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 4 of 36 PageID #: 2653




 a misstatement, you need to consider whether that misstatement was an intentional falsehood

 or simply an innocent lapse of memory. And the significance of that may depend on whether it

 has to do with an important fact or with only an unimportant detail. In deciding whether to

 accept or rely upon the testimony of any witness, you may also consider any bias of the witness.

            2.3     How to Examine the Evidence

        Certain testimony in this case has been presented to you through a deposition. A

 deposition is the sworn, recorded answers to questions asked to a witness in advance of the trial.

 Under some circumstances, if a witness cannot be present to testify from the witness stand, the

 witness testimony may be presented, under oath, in the form of a deposition. Before this trial,

 the attorneys representing the parties inthis case questioned these deposition witnesses under

 oath. A court reporter was present and recorded the testimony. Deposition testimony is entitled

 to the same consideration as testimony given by a witness in person from the witness stand.

 You should judge the credibility of and weigh the importance of deposition testimony to the

 best of your ability just as if the witness had testified in court in person.

        While you should consider only the evidence in this case, you are permitted to draw

 such reasonable inferences from the testimony and exhibits as you feel are justified in the light

 of common experience. In other words, you may make deductions and reach conclusions that

 reason and common sense lead you to draw from the facts that have been established by the

 testimony and evidence in the case. The testimony of a single witness may be sufficient to prove

 any fact, even if a greater number of witnesses may have testified to the contrary, if after

 considering all the other evidence you believe that single witness.




                                                  3
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 5 of 36 PageID #: 2654




        The parties have stipulated, or agreed, to some facts in this case. When the lawyers on

 both sides stipulate to the existence of a fact, you must, unless otherwise instructed, accept the

 stipulation as evidence, and regard the fact as proved.

            2.4     Direct and Circumstantial Evidence

        Some of you may have heard the terms “direct evidence” and “circumstantial evidence.”

 Direct evidence is simply evidence like the testimony of an eyewitness which, if you believe it,

 directly proves a fact. Circumstantial evidence is simply a chain of circumstances that indirectly

 proves a fact. If someone walked into the courtroom wearing a raincoat covered with drops

 of water and carrying a wet umbrella, that would be circumstantial evidence from which you

 could conclude that it was raining.

        It is your job to decide how much weight to give the direct and circumstantial evidence.

 As a general rule, the law makes no distinction between the weights that you should give to

 direct and circumstantial evidence, nor does it say that one is any better evidence than the other,

 but simply requires that you find the facts from all the evidence, both direct and circumstantial,

 and give it the weight you believe it deserves.

            2.5     Objections to Evidence

        Attorneys representing clients in courts such as this one have an obligation to assert

 objections when they believe testimony or evidence is being offered that is contrary to the rules

 of evidence. The essence of a fair trial is that it be conducted pursuant to the rules of evidence

 and that your verdict be based only on legally admissible evidence. So, you should not be

 influenced by the objection or by the Court’s ruling on it. If the objection is sustained, then

 ignore the question. If the objection is overruled, then you may treat the answer to that question

 just as you would treat the answer to any other question.

                                                   4
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 6 of 36 PageID #: 2655




        During the trial, I may not have let you hear the answers to some of the questions the

 lawyers asked. I also may have ruled that you could not see some of the exhibits the lawyers

 wanted you to see. And sometimes I may have ordered you to disregard things that you saw or

 heard. You must completely ignore all of these things as I have instructed you to disregard or

 ignore. Do not speculate about what a witness might have said or what an exhibit might have

 shown. These things are not evidence, and you are bound by your oath not to let them influence

 your decision in any way.

        At times during the trial it was necessary for the Court to talk with the lawyers here at the

 bench out of your hearing, or by calling a recess and talking to them whenyou were out of the

 courtroom. This happened because often during a trial, something comes up that does not

 involve the jury. You should not speculate on what was said during such discussions that took

 place outside of your presence.

            2.6     Demonstrative Evidence

        Certain exhibits shown to you are illustrations of the evidence, but are not themselves

 evidence. We call these types of exhibits “demonstrative exhibits.” Demonstrative exhibits are

 a party’s description, picture, or model to describe something involved in this trial. If your

 recollection of the evidence differs from the demonstrative exhibit, rely on your recollection.

            2.7     Expert Witnesses

        When knowledge of a technical subject matter may be helpful to the jury, a person who

 has special training or experience in that technical field, he or she is called an expert witness,

 and is permitted to state his or her opinion on technical matters. However, you are not required

 to accept that opinion. As with any other witness, it is up to you to decide whether the witness’s




                                                   5
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 7 of 36 PageID #: 2656




 testimony is believable or not, whether it is supported by the evidence, and whether to rely upon

 it.

       3.      Contentions of the Parties

            As I did at the start of the case, I will first give you a summary of each side’s contentions

 in this case. I will then provide you with detailed instructions on what each side must prove to

 win on each of its contentions.

            Plaintiff Lone Star Technological, Innovations, LLC (“Lone Star” or “Plaintiff”), seeks

 money damages from Defendant ASUSTek Computer Inc. (“ASUS” or “Defendant”) for

 allegedly infringing certain claims of U.S. Patent No. 6,724,435 (referred to as the “’435

 Patent”). Plaintiff contends that certain ASUS monitors, displays and projectors infringe claims

 1-3, 5-6 and 13-15 of the ’435 Patent. The ’435 Patent is also referred to as the “patent­in-suit”

 and claims 1-3, 5-6 and 13-15 are referred to as the “asserted claims.”

            Lone Star contends that ASUS directly infringed the asserted claims of the ’435 Patent

 by making, using, selling, offering for sale, or importing certain monitors, displays and projectors

 in the United States. Lone Star further contends that ASUS has induced infringement of the

 asserted claims of the patent-in-suit by others, such as its customers, and contributed to the

 infringement of the asserted claims of the patent-in-suit by its customers.

            ASUS denies that it has infringed the asserted claims of the patent-in-suit either directly

 or by induced or contributory infringement. ASUS further denies that the Lone Star is entitled

 to any damages. ASUS also contends the asserted claims are invalid because they are

 anticipated or rendered obvious by the prior art. ASUS contends that at the time of the alleged

 invention, prior art existed that disclosed every element of the asserted claims and made them

 obvious to a person of ordinary skill in the art.

                                                       6
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 8 of 36 PageID #: 2657




            ASUS further contends that the claims of the ’435 Patent are invalid in view of a

 doctrine referred to as obviousness-type double patenting. ASUS contends that claims 1-3, 5-

 6 and 13-15 of the ’435 Patent are invalid because they are an obvious variation of the claims

 and/or not otherwise patentably distinct from another, earlier expiring patent having a common

 inventor.

            [ASUS proposes the following instructions for defenses that are subject to Lone

 Star’s pending Motion to Strike: ASUS further contends that claims 1-3, 5-6 and 13-15 of

 the ’435 Patent are invalid as they are indefinite. This means that a person of ordinary skill in

 the art would not understand the scope of these claims with reasonable certainty, when the claim

 is read in light of the rest of the patent specification and the prosecution history.

            ASUS further contends that claims 1-3, 5-6 and 13-15 of the ’435 Patent are invalid as

 these claims recite an inoperative method of operation and therefore fail to meet the requirement

 that patent claims must be useful to be valid. ASUS contends that because claims 1-3, 5-6 and

 13-15 of the ’435 patent recite no steps to accomplish the intended result set forth in these

 claims, the claims fail to meet the requirement that a claim must be useful and are therefore

 invalid. ]

            ASUS further contends that claims 1-3, 5-6 and 13-15 of the ’435 patent are invalid as

 they are not enabled. A claim is invalid for lack of enablement if the specification does not

 provide a sufficient description of the manner and process of making and using the invention

 that would allow one of ordinary skill in the art to make and use the claimed invention without

 undue experimentation. 1




 1
     The parties’ respective positions regarding this defense are set forth in Section 7.7 below.
                                                              7
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 9 of 36 PageID #: 2658




         Your job is to decide whether ASUS has infringed the asserted claims of the patent-in-

 suit, and whether the asserted claims of the patent-in-suit are invalid. Infringement and

 invalidity are separate and distinct questions and should be considered and answered separately.

 If you decide that any asserted claim has been infringed and is not invalid, you will then need

 to decide the amount of money damages to be awarded to Lone Star to compensate it for the

 infringement, if any.

    4.      Burdens of Proof

         Facts must be proved by a required standard of evidence known as the burdenof proof.

 You've heard about it, I'm sure, from television in criminal cases. There’s a reference to proof

 beyond a reasonable doubt. That does not apply in a civil case like this. In a patent case like this

 one there are two other burdens of proof that will apply: (1) the preponderance of the evidence

 standard; and (2) the clear and convincing evidence standard.

         The Plaintiff, Lone Star, must prove its claims of patent infringement and damages by a

 preponderance of the evidence.

         When a party has the burden of proof by a preponderance of the evidence, it means that

 you must be persuaded that what the party seeks to prove is more probably true than not true.

         If you put the evidence for and against the party who must prove the fact on opposite

 sides of the scale, the preponderance of the evidence requires that the scale tip somewhat toward

 the party who has the burden of proof.

         ASUS has the burden of proving invalidity by clear and convincing evidence. That

 means evidence that produces in your mind a firm conviction or belief as to the matter at issue.

         Although proof to a certainty is not required, the clear and convincing standard requires

 a greater degree of persuasion than is necessary for the preponderance of the evidence standard.

                                                   8
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 10 of 36 PageID #: 2659




          If the proof establishes in your mind a firm belief or conviction, then the clear and

  convincing evidence standard has been met.

             4.1      No Inference from Filing Suit

          The fact that the plaintiff brought a lawsuit in this Court seeking damages creates no

  inference that the plaintiff is entitled to a judgment or damages. The act of making a claim in a

  lawsuit, by itself, does not in any way tend to establish that claim and is not evidence.

     5.      Patent Claims

             5.1      Role of Patent Claims

          Before you can decide many of the issues in this case, you’ll need to understand the

  role of the patent “claims.”

          Patent claims are the numbered sentences at the end of each patent. The claims are

  important because it is the words of the claims themselves that define what a patent covers. The

  figures and text in the rest of the patent provide a description and/or examples of the invention

  and provide a context for the claims, but it is the claims that define the breadth of the patent’s

  coverage. Each claim is effectively treated as if it were a separate patent, and each claim may

  cover more or less than another claim. Therefore, what a patent covers depends upon what each

  of its claims cover.

          You will first need to understand what each claim covers in order to decide whether or

  not there is infringement of the claim and to decide whether or not the claim is invalid. The law

  says that it’s my role to define the terms of the claims, and it’s your role to apply these definitions

  to the issues that you are asked to decide in this case.

          Therefore, as I explained to you at the start of the case, I have determined the meaning

  of certain claim terms at issue in this case and I have provided you those definitions in

                                                      9
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 11 of 36 PageID #: 2660




  Appendix A. You must accept the definitions of these words in the claims as being correct. It

  is your job to take these definitions and apply them to the issues that you are deciding, including

  infringement and validity. The claim language I have not interpreted for you is to be given its

  ordinary and accustomed meaning as understood by one of ordinary skill in the art.

               5.2   What a Claim Covers

         I will now explain how a patent claim defines what it covers. A claim sets forth, in

  words, a set of requirements. Each claim sets forth its requirements in a single sentence. If a

  device or system satisfies each of these requirements, then it is covered by the claim. In patent

  law, the requirements of a claim are often referred to as “claim elements” or “claim limitations.”

  There can be several claims in a patent. Each claim may be narrower or broader than another

  claim by setting forth more or fewer requirements. The coverage of a patent is assessed claim-

  by-claim. In patent law, the requirements of a claim are often referred to as “claim elements”

  or “claim limitations.”

         When a thing, such as a device, product, or system, meets all of the requirements of a

  claim, the claim is said to “cover” that thing, and that thing is said to “fall” within the scope of

  that claim. In other words, a claim covers a feature, product, or system where each of the claim

  elements or limitations is present in thatdevice, product, or system—a claim covers such a

  product or system even if the product or system has additional features or components that are

  not covered by the claim. Conversely, if the device, product, or system meets only some, but not

  all, of the claim elements or limitations, then that device, product, or system is not covered by

  the claim.

         By understanding the meaning of the words in a claim and by understanding that the

  words in a claim set forth the requirements that a product must meet in order to be covered by

                                                    10
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 12 of 36 PageID #: 2661




  that claim, you will be able to understand the scope of coverage for each claim. Once you

  understand what each claim covers, then you are prepared to decide the issues that you will be

  asked to decide, such as infringement and invalidity.

             5.3     Claim Interpretation

         I will now explain to you the meaning of some of the words of the claims in this case.

  In doing so, I will explain some of the requirements of the claims.

         As you may recall, certain claim terms have already been interpreted or defined by the

  Court. These definitions are also called claim constructions. The Court’s definitions are set

  forth in the claim construction chart provided in your notebooks.

         As I have previously instructed you, you must accept my definition of these words in

  the claims as correct. You must disregard any argument or evidence presented by either party

  suggesting that the terms in the claim construction chart mean anything other than the

  definitions provided in the chart.

         For any words in the claim for which I have not provided you with a definition,you should

  apply their common meaning. You should not take my definition of the language of the claims

  as an indication that I have a view regarding how you should decide the issues that you are being

  asked to decide, such as infringement and validity. These issues are yours to decide.

         You will also find another copy of my definitions as Appendix A to this charge. I will

  now turn to Appendix A and read the claim terms and the Court’s constructions. You can

  follow along from your juror notebook if you would like.

             5.4     Independent Claims and Dependent Claims

         This case involves two types of patent claims: independent claims and dependent

  claims. An “independent claim” sets forth all of the requirements that must be met in order to
                                                  11
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 13 of 36 PageID #: 2662




  be covered by that claim. Thus, it is not necessary to look at any other claim to determine what

  an independent claim covers. In this case, claim 1 of the ‘435 Patent is the independent claim.

          Other claims in the case are “dependent claims.” A dependent claim does not itself recite

  all of the requirements of the claim but refers to another claim for some of its requirements. In

  this case, for example, claim 3 of the ’435 Patent depends from claim 1. In this way the claim

  “depends” on another claim. The dependent claim incorporates all of the requirements of the

  claims to which it refers. Claim 3, for example, includes all of the requirements of claim 1 and

  additionally includes the additional requirements set forth in claim 3. The dependent claim then

  adds its own additional requirements. To determine what a dependent claim covers, it is

  necessary to look at both the dependent claim and any other claims to which it refers. A feature

  or product that meets all of the requirements of both the dependent claim and the claim to which

  it refers is covered by that dependent claim.

     6.      Infringement

          I will now instruct you how to decide whether or not ASUS has infringed the patent-in-

  suit. Infringement occurs when a person, without the patent owner’s permission, makes, uses,

  offers to sell, or sells the patented invention anywhere in the United States or imports the

  patented invention into the United States while the patent is in force. Infringement is assessed

  on a claim-by-claim basis. Therefore, there may be infringement as to one claim but no

  infringement as to another.

          In order to prove infringement, Lone Star must prove that the requirements for one or

  more of these types of infringement are met by a preponderance of the evidence, i.e., that it is

  more likely than not that all of the requirements of one or more of each of these types of

  infringement have been proved.

                                                  12
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 14 of 36 PageID #: 2663




             In this case, there are two possible ways that a claim may be infringed. The two types

  of infringement are called: (1) active inducement and (2) contributory infringement. Active

  inducement and contributory infringement are referred to as indirect infringement. There cannot

  be indirect infringement without someone else engaging in direct infringement.

             ASUS is accused here of active inducement and contributory infringement. For ASUS

  to be liable, its customers must be direct infringers – either literally or under the doctrine of

  equivalents. To prove indirect infringement, Lone Star must also prove that ASUS’s indirect

  infringement caused direct infringement within the United States. Lone Star has alleged that

  ASUS’s customers or end-users directly infringe the patent-in-suit in the United States, and that

  ASUS is liable for actively inducing or contributing to that direct infringement by its customers

  or end-users in the United States.

             For ASUS to be liable for indirect infringement, you must first find that Lone Star has

  proven direct infringement – either literally of under the doctrine of equivalents. Let me start,

  then, by explaining direct infringement in more detail and then indirect infringement.

                6.1      Direct Infringement – Literal Infringement

             As I mentioned, a finding of indirect infringement requires a showing that someone has

  directly infringed one of the asserted claims within the United States. Lone Star asserts that

  ASUS’s customers directly infringe the asserted claims by using the ASUS products in an

  infringing manner within the United States. However, a plaintiff is not required to present

  direct evidence that any individual third-party direct infringer was actually persuaded to

  infringe, but may instead present circumstantial evidence of inducement directed to an entire

  class of direct infringers, e.g. customers, end users. 2 You must consider the question of direct


  2
      Final Jury Instructions, GlaxoSmithKline LLC v. Teva Pharmaceuticals, Case No. 1:14-cv-00878-LPS-CJB, Dkt.
                                                          13
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 15 of 36 PageID #: 2664




  infringement for its customers in determining whether or not ASUS indirectly infringes any

  Asserted Claim. You cannot find that ASUS indirectly infringes a claim of the patent-in-suit if

  you do not first find that at least one of its customers directly infringes that claim by how the

  device operates.

          To show direct infringement of a claim, Lone Star must prove by a preponderance of

  the evidence that ASUS’s accused products practices every step in that claim. You must

  compare the accused product with each and every one of the requirements of a claim to

  determine whether all of the requirements are met. A claim requirement or step is present if it

  exists in the accused product or method just as it is described in the claim language, either as I

  have explained that language to you, or, if I did not explain it, as it would be understood by one

  of ordinary skill in the art.

          Whether ASUS’s customers knew that its product or method infringed does not matter

  for your consideration of direct infringement. The customer may directly infringe a patent even

  if it believed in good faith that what it was doing was not an infringement of any patent, and

  even if it did not know about the patent.

          If you find that the accused product or system includes each element of the claim, then

  that product or system infringes the claim, even if such product or system contains additional

  features or components that are not recited in the claims.

              6.2      Direct Infringement – Doctrine of Equivalents

          If a company makes, uses, sells, offers to sell within, or imports into the United States

  a product that does not meet all of the requirements of a claim and thus does not literally infringe

  that claim, there can still be direct infringement if that product satisfies that claim “under the


  440, (D. Del. June 19, 2017).
                                                    14
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 16 of 36 PageID #: 2665




  doctrine of equivalents.”

         Under the doctrine of equivalents, a product infringes a claim if the accused product

  contains elements corresponding to each and every requirement of the claim that is equivalent

  to, even though not literally met by, the accused product. You may find that an element is

  equivalent to a requirement of a claim that is not met literally if a person having ordinary skill

  in the field of technology of the patent would have considered the differences between them to

  be “insubstantial” or would have found that the structure: (1) performs substantially the same

  function and (2) works in substantially the same way (3) to achieve substantially the same result

  as the requirement of the claim. In order to prove infringement by “equivalents,” Lone Star

  must prove the equivalency of the structure to a claim element by a preponderance of the

  evidence.

              6.3        Indirect Infringement -- Active Inducement

         Lone Star alleges that ASUS is liable for infringement by actively inducing its

  customers to directly infringe the ’435 Patent within the United States. As with direct

  infringement, you must determine whether there has been active inducement on a claim-by-

  claim basis.

         To prove active inducement, Lone Star must establish that it is more likely than not that:

                    1.      the acts are actually carried out by another, such as ASUS’s customers,

         and that the other directly infringes that claim within the United States;

                    2.      ASUS took action during the time the patent was in force intending to

         cause the infringing acts by another; and

                    3.      ASUS was aware of the patent-in-suit and knew that the acts, if taken,

         would constitute infringement of that patent or ASUS believed that there was a high

                                                    15
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 17 of 36 PageID #: 2666




          probability that the actions taken by others infringed the patent-in-suit and took

          deliberate steps to avoid learning of that infringement. 3

          Although Lone Star need not prove that ASUS has directly infringed to prove indirect

  infringement, Lone Star must prove that someone directly infringed. If there is no direct

  infringement by anyone within the United States, ASUS cannot have actively induced

  infringement of the patent.

          If you find that ASUS was aware of the patent-in-suit, but believed that the acts it

  encouraged did not infringe that patent, ASUS cannot be liable for inducement. In order to

  establish inducement of infringement, it is not sufficient that another directly infringes the

  claims. Nor is it sufficient that ASUS was aware ofthe act(s) by another that allegedly constitute

  the direct infringement. Rather, in order to find inducement of infringement, you must find that

  ASUS specifically intended another to infringe the patent-in-suit. The mere fact, if true, that

  ASUS knew or should have known that there was a substantial risk that another’s acts would

  infringe the patent-in-suit would not be sufficient for active inducement of infringement.

          Like all other disputed issues in this case, this final element of induced infringement

  can be proven by circumstantial evidence. Lone Star is not required to present hard proof of

  any direct infringer. Lone Star must prove that ASUS’s actions led customers to directly

  infringe a claim of the patent-in-suit within the United States, but Lone Star may do so with

  circumstantial— as opposed to— direct evidence. 4

              6.4     Indirect Infringement -- Contributory Infringement



  3
    Final Jury Instructions, GlaxoSmithKline LLC v. Teva Pharmaceuticals, Case No. 1:14-cv-00878-LPS-CJB, Dkt.
  440, (D. Del. June 19, 2017).
  4
    GlaxoSmithKline LLC v. Teva Pharmaceuticals, 976 F.3d 1347, 1350 (Fed.Cir. 2020); Final Jury Instructions,
  GlaxoSmithKline LLC v. Teva Pharmaceuticals, Case No. 1:14-cv-00878-LPS-CJB, Dkt. 440, (D. Del. June 19,
  2017).
                                                       16
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 18 of 36 PageID #: 2667




             Lone Star argues that ASUS is liable for contributory infringement by contributing to

  the direct infringement of the patent-in-suit by its customers. As with direct infringement, you

  must determine contributory infringement on a claim-by- claim basis.

             To establish contributory infringement, Lone Star must prove that it is more likely than

  not that ASUS had knowledge of both the patent-in-suit and direct infringement of that patent-

  in-suit. Lone Star must prove that each of the following is more likely than not: 5

                     1. someone other than ASUS has directly infringed a claim of the patent-in-

                         suit;

                     2. ASUS sold, offered for sale, or imported within the United States a

                         component of the infringing product or an apparatus for use in the infringing

                         method;

                     3. the component or apparatus has no substantial, non-infringing use;

                     4. the component or apparatus constitutes a material part of the invention; and

                     5. ASUS knew that the component was especially made or adapted for use in

                         an infringing method.

             ASUS’s knowledge that the component was especially made or adapted for use in an

  infringing product may be shown with evidence of willful blindness where ASUS consciously

  ignored the existence of both the patent and direct infringement of that patent. To find willful

  blindness (1) ASUS must have subjectively believed that there was a high probability that a

  patent existed covering the accused method, and (2) ASUS must have taken deliberate actions

  to avoid learning of the patent.




  5
      AIPLA’s Model Patent Jury Instructions (2018).
                                                       17
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 19 of 36 PageID #: 2668




             Alleged non-infringing uses that are unusual, far-fetched, illusory, impractical,

  occasional, aberrant, or experimental are not substantial.

        7.       Invalidity

             I will now instruct you on the rules you must follow in deciding whether or not ASUS

  has proven that claim 1-3, 5-6 and 13-15 of the ’435 Patent are invalid. Before discussing the

  specific rules, I want to remind you about the standard of proof that applies to this defense.

  To prove invalidity of any patent claim, ASUS must persuade you by clear and convincing

  evidence that the claim is invalid. 6

             Patent invalidity is a defense to patent infringement. For a patent to be valid, the

  invention claimed must be new, useful, and not obvious. A patent cannot take away from people

  their right to use what was known or what would have been obvious when the invention was

  made.

             That which precedes the priority date of the patent invalidates, and that which comes

  after infringes. Claims are given the same meaning for purposes of both validity and

  infringement.

             An issued patent is accorded a presumption of validity based on the presumption that

  the Patent Office acted correctly in issuing a patent. Each claim of a patent is presumed valid

  independently of the validity of the other claims.

             The presumption of validity remains intact. In other words, the burden never shifts to

  Lone Star to prove that its patent is valid.

             Even though the Patent Office has allowed the claims of a patent, you have the ultimate

  responsibility for deciding whether the claims of the patent are valid.


  6
      N.D. Cal. Model Patent Jury Instructions, Rev. Aug. 2017 (updated Oct. 2019)
                                                           18
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 20 of 36 PageID #: 2669




             The presumption of validity is not an additional hurdle to be cleared for finding

  invalidity. By applying the clear and convincing standard, you are already accounting for the

  presumption of validity.

                 7.1     Prior Art

             That which came before a patent is generally referred to as the “prior art.” Prior art may

  include items that were publicly known such as patents and printed publications as well as

  products that have been used or offered for sale in this country that disclose the claimed invention

  or elements of the claimed invention. To be prior art, the item or reference must have been made,

  known, used, published, or patentedbefore the priority date of the patent.

                 7.2     Priority Date and Effective U.S. Filing Date

             The parties agree that the priority date for the patent-in-suit is August 6, 2001, and the

  effective U.S. filing date of the application of the patent is August 6, 2001.

                 7.3     Anticipation 7

             For a claim to be invalid because it is anticipated, ASUS must show by clear and

  convincing evidence that all of its requirements must have existed in a single device or method

  that predates the claimed invention, or must have been described in a single previous

  publication or patent that predates the claimed invention. In patent law, these previous devices,

  methods, publications or patents are called “prior art references.”

             [ASUS would like to include the following paragraph. Lone Star disagrees. The

  Parties respectfully seek the Court’s guidance on this issue: The description in the written

  reference does not have to be in the same words as the claim, but all of the requirements of the

  claim must be there, either stated or necessarily implied, so that someone of ordinary skill in


  7
      N.D. Cal. Model Patent Jury Instructions Rev. Aug. 2017 (updated Oct. 2019).
                                                           19
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 21 of 36 PageID #: 2670




  the field of image and video processing looking at that one reference would be able to make

  and use the claimed invention. ]

         To anticipate the invention, the prior art reference or system must disclose all of the

  requirements of the claim, either expressly or implicitly to a person having ordinary skill in the

  art in the technology of the invention, so that looking at that one prior art reference or system,

  the person could make and use the claimed invention. Anticipation must be determined on a

  claim-by-claim basis.

         In determining whether a single item of prior art anticipates a patent claim, you may

  consider not only what is expressly disclosed in that item of prior art but also what is inherently

  present or disclosed in it or inherently results from its use. Prior art inherently anticipates a

  patent claim if the missing requirement or feature would necessarily be present in the prior art.

         In order for someone to be entitled to a patent, the invention must actually be “new.” In

  general, inventions are new when the claimed invention has not been used in this country, or the

  claimed invention was already patented or described in a printed publication anywhere in the

  world before the priority date of the patent.

         Here is a list of ways that ASUS can show that a patent claim is anticipated:

                 1. if the claimed invention was already publicly known or publicly used by

                     others in the United States before August 6, 2001;.

                 2. if the claimed invention was already patented or described in a printed

                     publication, anywhere in the world before August 6, 2001;

                 3. if the claimed invention was already patented or described in a printed

                     publication, anywhere in the world by anyone else, more than a year before

                     the effective U.S. filing date of the application for the patent. An invention

                                                   20
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 22 of 36 PageID #: 2671




                      was patented by another if the other patent describes the same invention

                      claimed by Lone Star to a person having ordinary skill in the technology.

                   4. if the claimed invention was already described in another issued U.S. patent

                      or published U.S. patent application that was based on a patent application

                      filed before August 6, 2001

                   5. if the claimed invention was publicly used, sold, or offered for sale in the

                      United States more than one year before the effective U.S. filing date of the

                      application for the patent. An invention was publicly used when it was either

                      accessible to the public or commercially exploited.

          To understand how the prior art system operates, you may rely on multiple pieces of

  evidence that describe a same prior art system for the purpose of finding anticipation. In other

  words, if you find that a single prior art system existed that meets every element of the claim,

  then that is enough to find the claim invalid as anticipated.

             7.4      Obviousness

          ASUS also contends that the asserted claims are invalid as obvious. Even though an

  invention may not have been identically disclosed or described before it was made by an

  inventor, in order to be patentable, the invention must also not have been obvious to a person of

  ordinary skill in the relevant field of technology of the patent at the time the invention was

  made.

          ASUS may establish that a patent claim is invalid by showing, by clear and convincing

  evidence, that the claimed invention would have been obvious to persons having ordinary skill in

  the art in the field of the invention at the time the invention was made. In determining whether

  a claimed invention is obvious, you must consider the level of ordinary skill in the field of

                                                    21
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 23 of 36 PageID #: 2672




  technology of the patent that someone would have had at the time the claimed invention was

  made, the scope and content of the prior art, and any differences between the prior art and the

  claimed invention.

                       7.4.1 Level of Ordinary Skill
         In deciding what the level of ordinary skill in the field of invention is, you should

  consider all the evidence introduced at trial, including but not limited to: (1) the levels of

  education and experience of the inventor and other persons actively working in the field; (2)

  the types of problems encountered in the field; (3) prior art solutions to those problems; (4)

  rapidity with which innovations are made; and (5) the sophistication of the technology.

                       7.4.2 Scope and Content of the Prior Art
         In considering whether the claimed invention was obvious, you must first determine the

  scope and content of the prior art. The scope and content of prior art for deciding whether the

  invention was obvious includes at least prior art in the same field as the claimed invention,

  regardless of the problem addressed by the item or reference, and prior art from different fields

  that a person of ordinary skill would have considered when trying to solve the problem that is

  addressed by the invention.

                       7.4.3 Differences between the Prior Art and the Claimed Invention

         You should analyze whether there are any relevant differences between the prior art and

  the claimed invention from the view of a person of ordinary skill in the art at the time of the

  invention. Your analysis must determine the impact, if any, of such differences on the

  obviousness or non-obviousness of the claimed invention.




                                                  22
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 24 of 36 PageID #: 2673




             7.5     Double Patenting 8

         ASUS contends that claims 1-3, 5-6 and 13-15 of the ’435 Patent are invalid under a

  doctrine known as “obviousness-type double patenting.” This doctrine prevents one person

  from obtaining more than one valid patent for either (a) the same invention or (b) an obvious

  modification of the same invention. The doctrine exists to prevent an inventor from extending

  the life of protection of his or her invention by securing a second, later expiring patent for the

  same invention. To succeed on this defense, ASUS must show by clear and convincing

  evidence that the claim defines an invention that is an obvious variation of, or anticipated by,

  an invention claimed in another patent or patents owned by Lone Star.

         There are two steps involved in assessing whether this doctrine applies. First, you

  should compare the claims of the earlier patent or patents with the claim of the later patent

  (taking into account the claim construction definitions I have provided to you) and determine

  whether there are any differences between them. In making this comparison, you may compare

  one or more claims of earlier Lone Star patents with the later claims asserted in this case by

  Lone Star that ASUS contends are invalid. Lone Star patents that were issued earlier than the

  asserted patent in this case, or later-issued, but earlier-expiring Lone Star patents can qualify as

  a double patenting reference. If you find, by clear and convincing evidence, that there are no

  differences between the claims of the earlier patent or patents and the asserted claim of the later

  patent, then the asserted claim is invalid under the doctrine of double patenting.


  8
    Gilead Sciences, Inc. v. Natco Pharma Ltd., 753 F.3d 1208, 1212-13 (Fed. Cir. 2014); Abbvie
  Inc. v. Mathilda & Terence Kennedy Inst. Of Rheumatology Trust, 764 F.3d 1366, 1373 (Fed.
  Cir. 2014); Otsuka Pharm. Co. v. Sandoz, Inc., 678 F.3d 1280, 1297-99 (Fed. Cir. 2012); Eli
  Lilly & Co. v. Teva Parenteral Medicines, Inc., 689 F.3d 1368, 1377 (Fed. Cir. 2012); Georgia-
  Pac. Corp. v. U.S. Gypsum Co., 195 F.3d 1322, 1327-28 (Fed. Cir. 1999); MPEP § 804 at 800-21
  & Form Paragraph ¶ 8.36; In re Longi, 759 F.2d 887, 896 (Fed. Cir. 1995)

                                                    23
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 25 of 36 PageID #: 2674




         Second, if you find that differences exist between the claims of the earlier patent or

  patents and the asserted claim of the later patent, you must then determine whether any such

  differences render the claimed inventions patentably distinct. To answer this second question,

  you should consider whether the claim or claims of the reference patent renders the claim

  asserted in this case obvious. Under the doctrine of double patenting, the claims in the earlier

  (filed or expiring) patent or patents serve as the “prior art.” This analysis differs from general

  obviousness because you need not consider any “secondary considerations” of non-

  obviousness. Any differences between the reference claims and the asserted claim at issue

  should not be considered in isolation for purposes of determining whether the claimed

  inventions are patentably distinct; rather the claims must be considered and compared to one

  another as a whole. If you find, by clear and convincing evidence, that any differences between

  the claims of the earlier patent or patents and the asserted claim of the later patent would have

  been obvious or not patentably distinct to a person of ordinary skill in the art, then the asserted

  claim is invalid under the doctrine of double patenting.

         [ASUS proposes the following instructions for “Inoperability and Lack of Utility”

  that are subject to Lone Star’s pending Motion to Strike:

             7.6     Inoperability and Lack of Utility

         ASUS asserts that claims 1-3, 5-6 and 13-15 of the ’435 Patent are invalid based on a

  failure to meet the utility requirement. In order for a patent claim to be valid, it must be useful.

  In other words, a patent claim is invalid if it does not work as intended.

         ASUS asserts that claims 1-3, 5-6 and 13-15 of the ’435 Patent are invalid and cannot

  meet the utility requirement because the asserted claims embody an inoperative mode of

  operation. In order for ASUS to prevail on this defense, it must show by clear and convincing

                                                    24
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 26 of 36 PageID #: 2675




  evidence that the claims are susceptible to only one reasonable interpretation and that that

  interpretation results in an inoperative construction of the claim as a whole.

          [ASUS proposes the following instructions for “enablement”. Lone Star contends

  that ASUS’s expert has not advanced this invalidity theory and therefore is not proper.:

               7.7   Enablement

          ASUS asserts that claims 1-3, 5-6 and 13-15 of the ’435 Patent are invalid for lack of

  enablement. ASUS bears the burden of showing by clear and convincing evidence that the

  specification lacks enablement. As patent must disclose sufficient information to enable or

  teach persons of ordinary skill in the art in the field of the invention, as of the effective filing

  date of the claimed invention, to make and use the full scope of the claimed invention without

  undue experimentation. This requirement is known as the enablement requirement. If a patent

  claim is not enabled, it is not valid.

          In considering whether a patent complies with the enablement requirement, you must

  keep in mind that patents are written for persons of ordinary skill in the art in the field of the

  invention. Thus, a patent need not expressly state information that persons of ordinary skill

  would be likely to know or could obtain.

          The fact that some experimentation may be required for a person of ordinary skill in the

  art to practice the claimed invention does not mean that a patent does not meet the enablement

  requirement. Factors you may consider in determining whether persons of ordinary skill in the

  field of the invention would require undue experimentation to make and use the full scope of

  the claimed invention include:

          1.    The quantity of experimentation necessary and whether that experimentation

               involves only known or commonly used techniques.             The question of undue

                                                    25
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 27 of 36 PageID #: 2676




              experimentation does not necessarily make the experiments unduly extensive where

              the experiments are routine, such as repetition of known or commonly used

              techniques. But permissible experimentation is not without bounds.

          2. The amount of direction or guidance disclosed in the patent;

          3. The presence or absence of working examples in the patent;

          4. The nature of the invention;

          5. The state of the prior art;

          6. The relative skill of those in the art;

          7. The predictability of the art; and

          8. The breadth of the claims.]



          [ASUS proposes the following instructions for “indefiniteness” that are subject to

  Lone Star’s pending Motion to Strike:

             7.8     Indefiniteness 9

          One of the requirements for patent claim is that they be sufficiently definite that a skilled

  person reading them knows what is covered by the claims, and what is not. Claims that are not

  sufficiently definite are invalid.

          In this case, ASUS asserts that claims 1-3, 5-6, and 13-15 of the ’435 Patent are invalid

  because they are “indefinite”, that is, these claims do not sufficiently advise a person of ordinary

  skill in the art what is covered by the claims and what is not. You must decide whether the

  claims are sufficiently definite that, when in lead of the patent specification and prosecution




                                                       26
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 28 of 36 PageID #: 2677




  history, they inform one of ordinary skill in the art about the scope of the invention with

  reasonable certainty in light of the subject matter.

          ASUS must prove that the claims are indefinite by clear and convincing evidence.]

     8.      Damages

          If you find that ASUS has infringed any valid claim of the patent-in-suit, you must then

  consider what amount of damages to award to Lone Star. If you find that ASUS has not

  infringed any valid claim of the patent, then Lone Star is not entitled to any damages.

          I will now instruct you about the measure of damages. By instructing you on damages,

  I am not suggesting which party should win on any issue. Any damages you award must be

  adequate to compensate Lone Star for any infringement you find. Damages are not meant to

  punish an infringer or to set an example. Any damages award, if you reach this issue, should

  put Lone Star in approximately the same financial position that it would have been in had the

  infringement not occurred.

          Lone Star has the burden to establish the amount of its damages by a preponderance of

  the evidence. Plaintiff is not required to prove its damages with mathematical precision, but

  must prove them with reasonable certainty. You may not award damages that are speculative,

  damages that are only possible, or damages that are based on guesswork.

          In this case Lone Star seeks damages in the form of a reasonable royalty. A reasonable

  royalty is defined as the money amount Lone Star and ASUS would have agreed upon as a fee

  for ASUS’s use of the invention at the time ASUS sold its first accused product. The damages

  should be no more or no less than the value of the patented invention.

          The patent law does not allow you to use the value of an entire product or service, or

  the value of the entire market, to determine damages unless you find that Lone Star has proven

                                                   27
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 29 of 36 PageID #: 2678




  by a preponderance of the evidence that the patented feature of the product drives consumer

  demand for the entire product or service.

             8.1     Reasonable Royalty


         If you find that Lone Star has established infringement of a valid claim, Lone Star is

  entitled to at least a reasonable royalty to compensate them for that infringement.

                        8.1.1 Hypothetical Negotiation

          A reasonable royalty is the amount of money a willing patent owner and a willing

  prospective licensee would have agreed upon at the time the infringement began for a license

  to make, use or sell the invention. It is the royalty that would have resulted from an arm’s length

  negotiation between a willing licensor and a willing licensee—here, Lone Star (as the licensor)

  and ASUS (as the licensee) at the time ASUS sold its first accused product. This is known as

  the “hypothetical negotiation.” Unlike in a real-world negotiation, all parties to the hypothetical

  negotiation are presumed to believe that the patent is both infringed and valid. In considering

  this hypothetical negotiation, you should focus on what the expectationsof the patent owner and

  the infringer would have been had they entered into an agreement at that time and had they

  acted reasonably in their negotiations.

          The reasonable royalty you determine must be a royalty that would have resulted from

  the hypothetical negotiation and not simply a royalty either party would have preferred.

         The date of the hypothetical negotiation between Lone Star and ASUS is the earliest

  date that ASUS sold in the United States one of the products that Lone Star accuses in this

  lawsuit of infringing the patent-in-suit.

         In making your determination of the amount of a reasonable royalty, it is important that

  you focus on the time period when ASUS first infringed the patent-in-suit and the facts that
                                                   28
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 30 of 36 PageID #: 2679




  existed at that time. However, evidence of things that happened after the infringement first

  began may be considered in evaluating the reasonable royalty only to the extent that the evidence

  aids in assessing what royalty would have resulted from a hypothetical negotiation.

          Your determination does not depend on the actual willingness of the parties to the

  lawsuit to engage in such negotiations. Your focus should be on what the parties’ expectations

  would have been had they entered into negotiations for royalties on the date of the hypothetical

  negotiation.

                       8.1.2 Georgia-Pacific Factors
          In deciding what is a reasonable royalty that would have resulted from the hypothetical

  negotiation, you may consider the factors that the patent owner (Lone Star) and the alleged

  infringer (ASUS) would consider in setting the amount the alleged infringer should pay. I will

  list for you a number of factors you may consider. They are as follows:

                 1. The royalties received by the patentee for the licensing of the patent-in- suit,

                     proving or tending to prove an established royalty.

                 2. The rates paid by the licensee for the use of other patents comparable to the

                     patent-in-suit.

                 3. The nature and scope of the license, as exclusive or nonexclusive, or as

                     restricted or nonrestricted in terms of territory or with respect to whom the

                     manufactured product may be sold.

                 4. The licensor’s established policy and marketing program to maintain his or

                     her patent monopoly by not licensing others to use the invention or by

                     granting licenses under special conditions designed to preserve that

                     monopoly.

                                                  29
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 31 of 36 PageID #: 2680




              5. The commercial relationship between the licensor and licensee, such as

                 whether they are competitors in the same territory in the same line of

                 business, or whether they are inventor and promoter.

              6. The effect of selling the patented specialty in promoting sales of other

                 products of the licensee, the existing value of the invention to the licensor as

                 a generator of sales of his nonpatented items, and the extent of such

                 derivative or convoyed sales.

              7. The duration of the patent and the term of the license.

              8. The established profitability of the product made under the patent, its

                 commercial success, and its current popularity.

              9. The utility and advantages of the patented property over the old modes or

                 devices, if any, that had been used for working out similar results.

              10. The nature of the patented invention, the character of the commercial

                 embodiment of it as owned and produced by the licensor, and the benefits to

                 those who have used the invention.

              11. The extent to which the infringer has made use of the invention and any

                 evidence probative of the value of that use.

              12. The portion of the profit or of the selling price that may be customary in the

                 particular business or in comparable business to allow for the use of the

                 invention or analogous inventions.

              13. The portion of the realizable profits that should be credited to the invention

                 as distinguished from nonpatented elements, the manufacturing process,




                                               30
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 32 of 36 PageID #: 2681




                    business risks, or significant features or improvements added by the

                    infringer.

                 14. The opinion and testimony of qualified experts.

                 15. The amount that a licensor (such as the patentee) and a licensee (such as the

                    infringer) would have agreed upon (at the time the infringement began) if

                    both had been reasonably and voluntarily trying to reach an agreement; that

                    is, the amount which a prudent licensee—who desired, as a business

                    proposition, to obtain a license to manufacture and sell a particular article

                    embodying the patented invention— would have been willing to pay as a

                    royalty and yet be able to make a reasonable profit and which amount would

                    have been acceptable by a prudent patentee who was willing to grant a

                    license.

         The value that the patent owner gave to purchase the patent may be relevant to the

  determination of a reasonable royalty.

         No one factor is dispositive and you can and should consider the evidence that has been

  presented to you in this case on each of these factors. You may also considerany other factors

  which in your mind would have increased or decreased the royalty the alleged infringer would

  have been willing to pay and the patent holder would have been willing to accept, acting as

  normally prudent business people. In determining a reasonable royalty, you may also consider

  whether or not a commercially acceptable non-infringing alternative was available to ASUS at

  the time of the hypothetical negotiation and whether that would have affected the reasonable

  royalty the parties would have agreed upon.




                                                  31
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 33 of 36 PageID #: 2682




             8.2     License Comparability

          When determining a reasonable royalty, you may consider evidence concerning the

  amounts that other parties have paid for rights to the patent in question or for rights to similar

  technologies. A license agreement need not be perfectly comparable to the hypothetical license

  that would have been negotiated between Lone Star and ASUS in order for you to consider it.

  However, if you choose to rely upon evidence from any license agreements, you must account

  for any differences between those licenses and the hypothetically negotiated license between

  Lone Star and ASUS when you make your reasonable royalty determination, including the type

  of technology licensed, whether the license contained a cross-license and/or similar patent

  protections, whether the license contained any value related to a release of liability, the date

  when the license was entered, the financial or economic conditions of the parties at the time the

  parties entered into the license, the extent of use, if any, of any particular licensed patents, the

  number of patents involved in the license, whether or not the license covered foreign intellectual

  property rights, the extent to which litigation may have affected the license and whether

  contrary to the hypothetical negotiation the licensee in the real world license, at the time of

  entering the license,believed that the patents were either not infringed or were invalid.

             8.3     Use of Settlement and License Agreements

          Licenses and settlement agreements must not be considered when determining issues of

  infringement or invalidity. However, licenses and settlement agreements may be considered in

  determining damages. Thus, the fact that other companies have taken licenses from Lone Star,

  or have settled litigation with Lone Star, is not relevant to any issue other than damages in this

  case.




                                                    32
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 34 of 36 PageID #: 2683




              8.4       Use of Non-Infringing Alternatives

          In determining a reasonable royalty, you may also consider evidence concerning the

  availability and cost of non-infringing alternatives to the patented invention. A non-infringing

  alternative must be an acceptable product that is licensed under the patent or that does not

  infringe the patent.

              8.5       Apportionment for Royalty

          Damages for patent infringement must be apportioned to reflect the value the invention

  contributes to the accused products or features and must not include value from the accused

  products or features that is not attributable to the patent.

              8.6       Consider All Evidence

          In considering the evidence of a reasonable royalty, you are not required to accept one

  specific figure or another for the reasonable royalty. You are entitled to determine what you

  consider to be a reasonable royalty based upon your consideration of all of the evidence

  presented by the parties whether that evidence is of a specific figure or a range of figures.

              8.7       Lump Sum versus Running Royalty

          A royalty may be calculated as a one-time lump sum payment or a running royalty. A

  one-time lump sum payment that the infringer would have paid at the time of the hypothetical

  negotiation for a license covers all sales of the licensed product, both past and future. This

  differs from payment of a running royalty because, with a running royalty, the licensee pays

  based on the actual licensed products it sells. When a one-time lump sum is paid, the infringer

  pays a single price for a license covering both past and future infringing sales. It is up to you,

  based on the evidence, to decide what type of royalty, if any, is appropriate in this case for the

  life of the patent.

                                                     33
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 35 of 36 PageID #: 2684




             8.8     When Damages Begin

          In determining the amount of damages, you should not award damages for any

  infringement occurring prior to six years before the lawsuit was brought. The lawsuit was filed

  on February 20, 2019. As such, you should not award damages for any infringement occurring

  prior to February 20, 2013.

     9.      Instructions for Deliberations


          You must perform your duties as jurors without bias or prejudice as to any party. The

  law does not permit you to be controlled by sympathy, prejudice or public opinion. All parties

  expect that you will carefully and impartially consider all of the evidence, follow the law as it

  is now being given to you, and reach a just verdict, regardless of the consequences.

          It is your sworn duty as jurors to discuss the case with one another in an effort to reach

  agreement if you can do so. Each of you must decide the case for yourself, but only after full

  consideration of the evidence with the other members of the jury. While you are discussing the

  case, do not hesitate to re-examine your own opinion and change your mind if you become

  convinced that you are wrong. However, do not give up your honest beliefs solely because the

  others think differently, or merely to finish the case.

          Remember that in a very real way you are the judges of the facts. Your only interest is

  to seek the truth from the evidence in the case. You should consider and decide this case as a

  dispute between persons of equal standing in the community, of equal worth, and holding the

  same or similar stations in life. Corporations and businesses are entitled to the same fair trial as

  a private individual. All persons, including corporations, both foreign and domestic, stand equal

  before the law, regardless of size or who owns them or where they are located, and they are to

  be treated as equals.
                                                    34
Case 6:19-cv-00059-RWS Document 186-7 Filed 04/27/21 Page 36 of 36 PageID #: 2685




           When you retire to the jury room to deliberate on your verdict, you may take this charge

  with you, as well as the exhibits which the Court has admitted into evidence. You will select

  your foreperson and conduct your deliberations. If you recess during your deliberations,

  please follow all of the instructions that the Court has given you about your conduct during the

  trial.

           After you have reached your verdict, your foreperson is to fill in on the form your

  answers to the questions. Do not reveal your answers until such time as you are discharged,

  unless otherwise directed by me.

           Any notes that you may have taken during the trial, are only aids to your memory. If

  your memory should differ from your notes, then you should rely on your memory and not on

  the notes. Your notes are not evidence. A juror who has not taken notes should rely on his or her

  independent recollection of the evidence and should not be unduly influenced by the notes of

  other jurors. Notes are not entitled to any greater weight than the recollection or impression of

  each juror about the testimony.

           If you want to communicate with me at any time during your deliberations, please give

  a written message or a question to the Court Security Officer, who will bring it to me. I will

  then respond as promptly as possible, either in writing or by having you brought into the

  courtroom so that I can address you orally. I will always first disclose to the attorneys your

  question and my response before I answer your question.

           And then finally, after you have reached a verdict, you are not required to talk with

  anyone about the case unless the Court orders otherwise.

           You may now retire to the jury room to deliberate.




                                                   35
